                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 3:21-CR-088
                                                  )
EUNICE BRADLEY                                    )


                            MEMORANDUM AND ORDER

        Now before the Court is the defendant’s motion to continue her October 19, 2021

 trial date. [Doc. 10]. Defense counsel states that a continuance of approximately 60

 days is needed to fully review discovery and to advise the defendant regarding the best

 disposition of this case. According to the motion, the United States does not oppose the

 requested relief.

        The Court finds that the ends of justice served by granting the motion outweigh

 the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

 3161(h)(7)(A). In light of the reasoning set forth by the defendant, the Court finds that

 the failure to grant the motion would deny the defense reasonable time necessary for

 effective preparation. 18 U.S.C. § 3161(h)(7)(B)(iv). The motion requires a delay in the

 proceedings. Therefore, all the time from the filing of the motion to the new trial date is

 excludable as provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

        The defendant’s motion [doc. 10] is GRANTED. The trial of this criminal case

 is CONTINUED from October 19, 2021, to Tuesday, December 14, 2021, at 9:00 a.m.




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 in Knoxville. The new plea cutoff date is November 12, 2021.

             IT IS SO ORDERED.

                                                    ENTER:



                                                           s/ Leon Jordan
                                                     United States District Judge




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